Case 2:17-cV-02005-N|QA Document 1 Filed 05/02/17 Page 1 of 12

IN THE UNITED STATES DISTRICT COURT
FOR THE EASTERN DISTRIC'I` OF PENNSYLVANIA

 

STEVE WASHINGTON
2311 Moore St.
Philadelphia, PA 19145
CIVlL ACTION
Plaintiff,
No.:
v.

ARAMARK COR.PORATION :
dfb/a ARAMARK FACILITIES 2 JURY TRIAL DEMANDED
1101 Market St. '
Philadelphia, PA 19107
and
UNIVERSITY OF PENNSYLVANIA
3101 Walnut St.
Phiiadelpliia, PA 19104

Defendant.

 

ClVIL ACTION COMPLAINT

Plaintiff, Steve Washington, by and through his undersigned connsel, hereby avers as

follows:
I. INTRODUCTION

l. Plaintiff has initiated this action to redress violations by Ararnai'k Corporation and
the University Of Pennsylvania (hereina_)?er collectively referred to as “Defendents” unless
indicated otherwise) of the Age Discrilnination in Employment Act (“ADEA” ~ 29 U.S.C. §§
62l et. seq.), 42 U.S.C. §1981, and the Pennsylvania Human Relations Commission (“PHIU\”).1
Piairitiff Was subjected to discrimination based en his advanced age and race and he suffered

damages more fully described/sought herein.

 

l Plaintiff will move to amend his instant lawsuit to include a claim under the PHRA once his administrative
remedies are fully exhausted With the Pennsylvania Humen Relations Commission. Any claims under the PHRA
though Would mirror the instant ADEA claims identically.

Case 2:17-cV-O2005-N|QA Document 1 Filed 05/02/17 Page 2 of 12

II. .}URISDICTION AND VENUE

2. This Court, in accordance with 28 U.S.C. § 1331, has jurisdiction over Plaintiff’s
claims because this civil action arises under laws of the United States.

3. Tliis Court may properly maintain personal jurisdiction over Defendants because
Det`endants’ contacts with this state and this judicial district are sufficient for the exercise of
jurisdiction over Defendants to comply with traditional notions of fair play and substantial
justice, satisfying the standard set forth by the United States Supreme Court in lntemational Shoe
Co. v. Washington, 326 U.S. 310 (1945) and its progeny

4. Pursuant to 28 U.S.C. § l39i(b)(1) and (b)(Z), venue is property laid in this
district because all of the acts and/or omissions giving rise to the claims set forth herein occurred
in this judicial district, and in addition, Det`endants are deemed to reside where they are subject
to personal jurisdiction, rendering Defendants residents of the Eastern District of Pennsylvania.

5. Plaintii’t` is proceeding herein under the ADEA and has properly exhausted his
administrative remedies with respect to such claims by timely filing a Charge of Discrimination
with the Equal Ernpioyment Opportunity Comrnission (“EEOC”) and by iiling the instant lawsuit

within ninety (90) days of receiving a notice of dismissal and/or right to sue letter from the

EEOC.
III. PARTIES
6. The foregoing paragraphs are incorporated herein in their entirety as if set forth in
hill.
7 . Piaintit`f is an adult individual, with an address as set forth in the caption.
S. Defendant Arainark (hereinaj?er “Defendant”) is a corporation with a location at

the above-captioned address which provides food service, facilities and uniform services to

 

Case 2:17-cV-O2005-N|QA Document 1 Filed 05/02/17 Page 3 of 12

hospitals, universities, school districts, stadiums and other businesses around the World,
including the University of Pennsylvania (where Plaintiff physically worked).

9. Defendant University of Pennsylvania (“Det`endant UOP”) is a university located
in Philadelphia, Pennsylvania.

lO. Plaintiff physically worked at Defendant UOP in Phiiadelphia, PA for
approximately 3 years and was placed there through a contractor service company called SSC
Service Solutions/Cornpass Group, USA. l~Iowever, even though he was paid SSC Service
Solutions/Compass Group, USA during his tenure with Defendant UOP, he was still treated in all
functional respects like an employee while working within Defendant UOP. For example,
Defendant UOP’s management had the ability to recommend discipline to Plaintiff, give
directive to Piaintiff, and have input in managerial decisions regarding Piaintiff's employment
Thus, for the foregoing reasons, Defendant UOP may be treated as a single and/or joint employer
for purposes of the instant action.

ll. ln or about the Spring of 2016, Defendant Aramark was announced as the new
service contractor for Defendant UOP, beginning on or about July l, 2016.

12. When Defendant Aramark became the new service contractor for Defendant
UOP, Defendant Aramark and Defendant UOP jointly made decisions regarding the continued
employment of SSC Service Solutions/Compass Group, USA employees, including Plaintiff.

13. 'l`herefore, based on the foregoing, Defendant Aramark may be treated as a single
and/or joint employer for purposes of the instant action.

14. At all times relevant herein, Defendants acted by and through their agents,
servants and employees, each of whom acted at all times relevant herein in the course and scope

of their employment with and for Defendants.

 

Case 2:17-cV-O2005-N|QA Document 1 Filed 05/02/17 Page 4 of 12

IV. FACTUAL BACKGROUND

15. The foregoing paragraphs are incorporated herein in their entirety as if set forth in
full.

l6. Plaintiff is a 54-year~old Aiiican-American (black) male.

17. Since in or about the year 2013, Plaintift` was employed and paid by a service
contractor company called SSC Service Solutions/Cornpass Group, USA; however, he was
physically working at Defendant UOP as a housekeeping supervisor.

- 18. Plaintiff had physically worked at Defendant UOP for approximately 3 years,
wherein he was given directive by Defendants’ management and wherein Defendant’s UOP’s
management had input regarding managerial decisions pertaining to Plaintifi’ s employment

19. While employed as a housekeeping supervisor, Wendy Sparks - Director of
Housekeeping for Defendant UOP -- had input in employment decisions regarding Plaintiff and
other employees of SSC Service Solutions/Compass Group, USA, including but not limited to
assignments, directives, discipline, and termination

20. During the time period that Ms. Sparl<s was Director of Housekeeping (from in or
about July of 2014 through Plaintiff’s separation in or about June of 2016), she exhibited
discriminatory animus and hostility towards older and African-Americanfblack workers For
example, unlike non-black and younger employees, Ms. Sparks would treat younger and
African-Arnerican (black) employees in a rude and condescending manner, ignore their opinions
and/or recommendations, and attempt to lind reasons to discipline and/or terminate them.
Plaintit`f did not observe younger, Caucasian/non-black employees being treated in the same

mRIlI`l€T.

 

Case 2:17-cV-O2005-N|QA Document 1 Filed 05/02/17 Page 5 of 12

21. In or about May of 2016, Plaintiff was informed that Defendant Aramark would
be the new service contractor for Defendant UOP starting on or about July l, 2016.

22. Despite the fact that Plaintiff had worked at Defendant UOP for three (3) years
and had a solid work history, he was not retained and/or hired by Defendants; however, younger,
Caucasian employees, who held the same or similar job as Plaintiff, were retained ln addition,
younger, Caucasian individuals were also hired from outside of SSC Service Solutions/Compass
Group, USA to till vacant positions that older and/or Aliican-Arnerican (black) employees of
SSC Service Solutions/Compass Group, USA used to hold.

23. There were multiple other employees of SSC Service Solutions/Coxnpass Group,
USA who were African~American (blacl<) and/or over the age of 40 who were also not retained
despite their skills, work ethic, and seniority

24. Upon information and belief, Dei`endant UOP, specifically Ms. Sparks, directly
participated in Defendant Aramark’s decision making process regarding who should be
terminated and who should be retained from SSC Service Solutions/Compass Group, USA when
Aramark was awarded the service contract with Defendant UOP.

25. Upon further information and belief, Defendants did not consider seniority,
discipline, or other neutral criteria and hired/retained younger, Caucasian employees to fill
vacant positions that older employees used to hold

26. Plaintiff was terminated from Defendant UOP (due to Defendants’ decision not to
retain and/or hire him) on or about lane 30, 2016.

27. Plaintiff believes and therefore avers that he was terminated and/or not retained

by Defendants because of his advanced age and/or because of his race.

Case 2:17-cV-O2005-N|QA Document 1 Filed 05/02/17 Page 6 of 12

First Cause of Action
Violations of the Age Discrimination in Employment Act ¢“ADEA”!

(Age Discrimination)
-Against Both Defendants-

28. The foregoing paragraphs are incorporated herein in their entirety as if set forth in
full

29. While employed with Defendant UOP, under the supervision of Ms. Sparks,
Plaintiff, and other older workers, were subjected to discriminatory treatment (discussed supra)
because of their advanced age.

30. in or about May of 2016, Plaintiff was informed that Dei`endant Aramark would
be the new service contractor for Defendant UOP starting on or about July l, 2016.

31. in or about the Summer of 2016, Plaintiff was informed that he had not be
retained and/or hired by Defendant Aramark to work at Det`endant UOP and he was not provided
with any logical or legitimate reason as to why he had not be retained and/or hire.

32. There were multiple other employees of SSC Service Solutions/Compass Group,
USA who were over the age of 40 and were also not retained despite their skills, work ethic, and
seniority

33. Younger employees, who held the same or similar job as Plaintiff, were retained
and other younger individuals were also hired from outside SSC Service Solutions/Compass
Group, USA to till vacant positions that older employees of SSC Service Solutions/Cornpass
Group, USA used to hold.

34. Upon information and beliei`, Det`endants did not consider seniority, discipline, or

other neutral criteria when making decisions regarding who to retain and/or terminated from SSC

Service Solutions/Compass Group, USA.

 

Case 2:17-cV-02005-N|QA Document 1 Filed 05/02/17 Page 7 of 12

35. Upon information and belief, Defendant UOP, specifically Ms. Sparks, directly
participated in the Deferrdant Aramark’s decision making process regarding who should be
terminated and who should be retained from SSC Service Solutions/C-ompass Group, USA when
Aramark was awarded the services contract with Det`endant UOP.

36. Plaintiff believes and therefore avers that he was not retained and/or hired with
Defendants because of his advanced age.

37. These actions as aforesaid constitute unlawful discrimination under the ADA.

Second Cause of Action
Violations of 42 U.S.C. 5 1981 (“Section 1981”)
(Race I}iscrimination)
-Against Both Defendants-

38. The foregoing paragraphs are incorporated herein in their entirety as if set forth in
full

39. While employed with Defendant UOP under the supervision of Ms. Sparks,
Plaintiff, and other African~Ametican (black) workers, were subjected to discriminatory
treatment (discussed supra) because of their race.

40. In or about May of 2016, Plaintiff was informed that Defendarlt Aramark would
be the new service contractor for Defendant UOP starting on or about July 1, 2016.

41. In or about the Surnmer of 2016, Plaintiff was informed that he had not be
retained and/or hired by Defendant Aramark to work at Defendant UOP and he was not provided
with any logical or legitimate reason as to why he had not be retained and/or hire.

42. There were multiple other employees of SSC Service Solutions/Compass Group,

USA who were also African~American (black) and were also not retained despite their skills,

work ethic, and seniority

 

Case 2:17-cV-O2005-N|QA Document 1 Filed 05/02/17 Page 8 of 12

43. Non~blaclc employees, who held the same or similar job as Plaintiff, were retained
and other non-black individuals were also hired from outside SSC Service Solutions/Compass
Group, USA to till vacant positions that African-Arnerican (black) employees of SSC Service
Solutions/Compass Group, USA used to hold.

44. Upon information and belief, Defendants did not consider seniority, discipline, or
other neutral criteria when making decisions regarding who to retain and/or terminated from SSC
Service Solutions/Compass Group, USA.

45. Upon information and belief, Defendant UOP, specifically Ms. Sparks, directly
participated in the Defendant Aramark’s decision making process regarding who should be
terminated and who should be retained from SSC Service Solutions/Compass Group USA when
Ararnark was awarded the services contract with Defendant UOP.

46. Plaintiff believes and therefore avers that he was not retained and/or hired by
Defendants because of his race.

WHEREFORE, Plaintiff prays that this Court enter an Order providing that:

A. E)efendants are to promulgate and adhere to a policy prohibiting discrimination in
the future against any employee(s);

B. Defendant are to compensate Plaintitf, reimburse Plaintiff, and make Plaintiff
whole for any and all pay and benefits Plaintiff would have received had it not been for
Defendants’ illegal actions, including but not limited to back pay, front pay, salary, pay
increases, bonuses, insurance, and benefits

C. Plaintiff is to be awarded actual damages, as well as damages for the pain,

suffering, and humiliation caused by Defendants’ actions;

Case 2:17-cV-O2005-N|QA Document 1 Filed 05/02/17 Page 9 of 12

D. Plaintiff is to be awarded liquidated or punitive darnages, as permitted by
applicable law(s) alleged asserted herein, in an amount believed by the Court or trier of fact to be
appropriate to punish Defendants for their willful, deliberate, malicious and outrageous conduct
and to deter Defendants or other employers from engaging in such misconduct in the tuture;

E. Plaintiff is to be accorded other equitable and legal relief as the Court deems just,
proper, and appropriate; and
F. Plaintiff is to be awarded the costs and expenses of this action and a reasonable

attorney’s fees as provided by applicable federal and state law.

Respectfully submitted,

KARPF, RPF & CERUTTI, P.C.

/

By:

 

Ari mm£ Esq.
3331 Streeth.
Bldg. 2, Ste. 128
Bensalem, PA 19020

Date: May l, 2017

 

Case 2:17-cV-O2005-N|QA Document 1 Filed 05/02/17 Page 10 of 12

IN 'I'HE UNITED STA'I`ES DISTRICT COURT
FOR THE EABTERN DISTRICT OF PENNSYLVANIA

C.'A ‘ NT ' G A l F
STEVE WASHINGTON ’, C}VIL ACTION
V. .
ARAMARK'CORPORATION ' ~ ' NO.

D/BI'A ARAMARK FAC[Ll'l`lE_S, ET:AL.

ln accordance with the Civil lusticc Expense and Delay Reduction Plan of this court, counsel for
plaintiff shall complete a Case Management 'I`raclc Designation Forrn in all civil cases at the ama of
filing the complaint and serve a cop on all defendants (See § 1203 ofthc lan set forth on the reverse
side of this form.) In the event at a defendant does not agree with t e plaintiff regarding said
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the plaintiff and all other parties, a Case Managemeat Traclc Designation, Fenn specifying the track

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(c) Arbitration - Cases required to be designated for arbitration under Lccal Civil Rule 53.2_ ( ')

(d) Asbestos ~ Cases involving claims for personal injury or property damage from
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(215l 63 9~0801 _(_gl 5) 639»4970 akalpl`@karpf-iaw.com
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UNITED STA'I`ES DISTRICT COURT

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Vl. CAUSE OF ACTION

 

 

 

 

 

 

 

Vll. REQUESTED IN 0 CHECK lF TH|S lS A CLASSACT[ON DEMAND S CHECK YES only il`demanded in complaint

COMPLAINT: UNDER RULE 23. F.R.CV.P. .|URY DEMAND: 151 Yes Cl No
vm. RELATED cAsE(s)

IF ANY (.S`o¢ rmiru:rmm). JUDGE ' h DOCKET ER

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